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June 13, 2025

VIA ECF

The Honorable Lewis J. Liman
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1620
New York, New York 10007

    Re:   Lively v. Wayfarer Studios LLC et al., No. 24-cv-10049 (LJL)

Dear Judge Liman:

         Pursuant to Rules 1.C and 4.C of the Court’s Individual Rules and Practices and Federal Rule of
Civil Procedure (“Rule”) 26, Blake Lively1 respectfully submits this letter motion for a protective order
regarding the Wayfarer Parties’ continuing demands for Ms. Lively’s communications with Taylor Swift
(made again yesterday), which they have pursued at the same time they have refused to produce to Ms.
Lively the documents they publicly claimed to have received as part of a deal to withdraw their subpoenas
to Ms. Swift and her counsel. Good cause exists for this request because it has been the Wayfarer Parties’
tactic since August 2024 to make Ms. Swift and her fan base central to their media strategy against Ms.
Lively, which they documented in both their communications and “Scenario Planning Document.” See
ECF Nos. 84 ¶ 214, 84-4 at 4. Ms. Swift is not central to Ms. Lively’s claims (unlike dozens of other
witnesses she identified who the Wayfarer Parties have largely ignored), and is otherwise irrelevant to
the Wayfarer Parties’ claims, which were dismissed on June 9. The Wayfarer Parties should not be
permitted to withhold documents from Ms. Lively while demanding her communications with Ms. Swift.
Because of this, and because their continued focus on Ms. Swift is a media strategy, not a litigation
strategy, Ms. Lively respectfully requests that she be relieved from producing documents responsive to
requests numbered 108-109 in the Request for Production served by the Wayfarer Parties on February
21, 2025 (“RFPs 108-109”, Ex. A),2 seeking “all documents and communications relating to and/or
reflecting” Ms. Lively’s communications with Taylor Swift “relating to the Film” or “the Action.”

       Throughout litigation, and particularly over the past month, the Wayfarer Parties have repeatedly
used Ms. Swift’s name as part of their media strategy. Specifically, after serving RFPs 108-109, and as
this Court is aware, the Wayfarer Parties served a subpoena pursuant to Rule 45 on the law firm Venable
LLC (“Venable Subpoena”), which has served as outside counsel for Ms. Swift, for communications
between Ms. Swift’s lawyer and Ms. Lively’s counsel. See ECF No. 214. The Wayfarer Parties

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  In light of the Court’s June 9, 2025 decision dismissing all of the Wayfarer Parties’ claims, ECF No. 296, Consolidated
Defendant Ryan Reynolds is no longer a party to this action and is under no obligation to respond to the requests for
production served on him on February 21, 2025. Lehman v. Kornblau, 206 F.R.D. 345, 346 (E.D.N.Y. 2001) (requests for
production served on dismissed defendant is “a nullity”). However, to the extent Mr. Reynolds now or in the future is
responsible for responding to discovery requests, he respectfully submits for any relief granted to Ms. Lively apply to him
with equal force.
2 Cites to “Ex.” refer to the exhibits attached to the Declaration of Stephanie A. Roeser (“Roeser Decl.”), filed
contemporaneously herewith.
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subsequently served a Rule 45 deposition and document subpoena on Ms. Swift that sought documents
and communications entirely duplicative and cumulative of those sought by RFPs 108-109. See Ex. C at
Requests 1, 5 (seeking all documents and communications with Ms. Lively regarding the Film or the
Action) (together with the Venable Subpoena, “the Subpoenas”). After nearly two full weeks of tabloid
coverage on the Subpoenas—as well as on the now-stricken filing on a related topic (ECF No. 220)—
the Wayfarer Parties withdrew both Subpoenas on May 22, 2025. 3 The same day, an “exclusive” article
co-authored by the Daily Mail’s James Vituscka—whose relationship with the Wayfarer Parties is
already part of the record, see ECF No. 50 ¶ 193, 286-1 ¶¶ 1–2—quoted an “insider” stating the “reason”
they dropped the Subpoenas:


        Justin Baldoni’s attorney Bryan Freedman dropped the request for the subpoena and the
        reason for doing this is very simple, they got exactly what they were seeking.

        Sending a subpoena to Taylor and Taylor’s response has provided Baldoni’s team with
        everything that they needed. Taylor stated that she was not involved at all, and this is in
        stark contrast to what Lively has said.

The “insider” continued:

        Taylor was always considered to be the smoking gun in this, and everyone is extremely
        pleased with the end results and the information it yielded. They got exactly what they
        were hoping for and much more. 4

       On June 11, 2025, during his fifty-minute interview with Megyn Kelly, Mr. Freedman again
recognized that he may not “need that evidence [related to Ms. Swift] in addition to what [he] ha[s]
already.”5 If the Wayfarer Parties have already obtained “exactly what they were hoping for and much
more,” and do not need any evidence in addition to what they have obtained, then RFPs 108-109 are
duplicative, cumulative, and unnecessary. Even more, the only allegations in this action that were ever
remotely relevant to Ms. Swift were in the Wayfarer Parties’ now dismissed complaint; Ms. Swift is not
mentioned a single time in Ms. Lively’s amended complaint. See ECF No. 50 ¶¶ 41–42; see generally
ECF No. 84.

       Later on May 22, 2025, counsel for Ms. Lively emailed counsel for the Wayfarer Parties about
the public statements, interpreted “to mean either that (1) the intent of the Wayfarer Parties’ subpoena,
since our understanding is that they obtained no discoverable materials as part of this process, was to
introduce scandalous allegations about Ms. Lively and her counsel into the public domain to generate

3
  Bryan West, Justin Baldoni’s legal team revokes document subpoena issued for Taylor Swift, USA Today (May 22, 2025),
https://www.usatoday.com/story/entertainment/music/2025/05/22/justin-baldoni-legal-team-revokes-document-subpoena-
for-taylor-swift/83795887007/; Gene Maddaus, Taylor Swift Excluded From Baldoni-Lively Narrative, as Subpoena Is
Withdrawn, Variety (May 22, 2025), https://variety.com/2025/film/news/taylor-swift-subpoena-withdrawn-baldoni-lively-
1236407044/
4
  Eve Buckland & James Vituscka, Exclusive Major Update on Taylor Swift’s Subpoena in Blake Lively Lawsuit After Legal
Drama Ended Pair’s Friendship, Daily Mail (May 22, 2025), https://www.dailymail.co.uk/tvshowbiz/article-
14740399/taylor-swift-subpoena-blake-lively-lawsuit-update-friendship.html?ito=native_share_article-nativemenubutton
(emphasis added).
5
  Truth About Where Taylor Swift Stands in Blake Lively-Justin Baldoni Legal Battle, w/ Bryan Freedman, The Megyn Kelly
Show (June 11, 2025), https://www.youtube.com/watch?v=F4ZtvoNbQv4.
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negative stories, or (2) the Wayfarer Parties have received materials responsive to their subpoena, which
would come as a surprise given that no materials have been provided to us.” Ex. B. The same email
explained that any discovery that the Wayfarer Parties or their counsel obtained concerning Ms. Lively
from any third party would be responsive to properly served RFPs. To date, the Wayfarer Parties have not
responded to the email, and have not produced any productions from Ms. Swift. Further, the parties have
an agreement to produce documents obtained via third party subpoenas to each other promptly upon
receipt, which would clearly apply to these documents, if any, notwithstanding the withdrawal of the
subpoena.6

        Either interpretation of the reason the Wayfarer Parties withdrew the Subpoenas warrants the entry
of a protective order as to RFPs 108-109. If the Wayfarer Parties received documents from Ms. Swift such
that they have “exactly what they” need, then the discovery sought in RFPs 108-109 is cumulative and
duplicative, and need not be produced again by Ms. Lively. See Mangahas v. Eight Oranges Inc., 2022
WL 14106010, at *1 (S.D.N.Y. Oct. 24, 2022) (Liman, J.) (“The Court has authority to limit the
frequency and extent of discovery otherwise allowed by the Federal Rules if . . . it is unreasonably
cumulative or duplicative.” (quoting Fed. R. Civ. P. 26(b)(1), (b)(2)(C))); Essilor Int’l SAS v. J.P.
Morgan Chase Bank N.A., 2024 WL 2304961, at *1 (S.D.N.Y. May 21, 2024) (denying motion to
compel discovery that was “unreasonably cumulative of information already produced in discovery”).
If, on the other hand, the Wayfarer Parties were “seeking” only sensational headlines by serving the
Subpoenas rather than materials to support their claims and defenses, they are not entitled to the
information sought in RFPs 108-109. The purpose of civil discovery is to obtain information relevant to
claims and defenses in court, not to prop up a public relations narrative outside of court. See Oakley v.
MSG Networks, Inc., 2025 WL 463214, at *1 (S.D.N.Y. Feb. 7, 2025) (disapproving of discovery driven
by a desire “to generate gratuitous media publicity”).7

                                                              Respectfully Submitted,


                                                              s/ Esra A. Hudson_____________

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  Ms. Lively contacted counsel for the Wayfarer Parties via email on Monday, June 9, 2025 at 5:22 p.m. EST requesting
availability within 48 hours to hold a conferral to attempt to resolve this dispute. Ex. B. During a conferral on a separate
issue on Tuesday, June 10, 2025, counsel for Ms. Lively asked for the Wayfarer Parties’ position on RFPs 108-109 because
they had not yet responded to the email inquiry or provided their availability. Roeser Decl. ¶ 7. Counsel for the Wayfarer
Parties said they were not ready to discuss the issue and it has been more than 80 hours since Ms. Lively’s counsel
requested to confer. Roeser Decl. ¶ 8.
7
  That the purpose was not to obtain discovery but rather press reports is consistent with the statements by counsel to Ms.
Swift that they have not produced any materials to the Wayfarer Parties. Ex. D (“No documents are being produced and no
deposition is being scheduled”).
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